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 8 and Wissam Shaya
 9                         UNITED STATES DISTRICT COURT
10          CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
11
   BALBOA CAPITAL CORPORATION,                       Case No.
12 a California Corporation,
13
                Plaintiff,                           NOTICE OF REMOVAL OF ACTION
14
                                                     UNDER 28 U.S.C. § 1441(b)
15 vs.                                               (DIVERSITY OF CITIZENSHIP)
16
   SHAYA MEDICAL P.C. INC., a Florida
17 corporation; WISSAM SHAYA, an
18 individual; and DOES 1 through 10,
   inclusive,
19
20              Defendants.
21
22        TO THE CLERK, PLAINTIFF AND ITS ATTORNEYS OF RECORD:
23        PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1441 and 1446,
24 Defendants SHAYA MEDICAL P.C. INC. and WISSAM SHAYA (collectively,
25 “Defendants”), all citizens of the State of Florida, hereby remove to this Court the
26 state court action described below:
27
28 ____________________________________________________________________
                      NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b)
                                  (DIVERSITY OF CITIZENSHIP)
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 1         1.    On March 30, 2021, an action was commenced in the Superior Court of
 2 California, County of Orange, entitled Balboa Capital Corporation v. Shaya Medical
 3 P.C. Inc., et al. and assigned case number 30-3021-01192381-CU-CL-CJC.
 4         2.    The Summons and Complaint were served on Defendants on April 6,
 5 2021.
 6         3.    Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all process,
 7 pleadings, and orders served upon Defendants are attached to this Notice as Exhibits
 8 as follows:
 9         (a) The Complaint filed in that action is attached hereto as Exhibit “A.”
10         (b) The Summons is attached hereto as Exhibit “B.”
11         (c) The Civil Case Cover Sheet is attached hereto as Exhibit “C.”
12         (d) The Alternative Dispute Resolution (ADR) Information Package is attached
13         hereto as Exhibit “D.”
14         4.    Defendants are removing this action within thirty (30) days after being
15 served with the Summons and Complaint. Removal is therefore timely under 28
16 U.S.C. § 1446(b).
17         5.    This is a civil action over which this Court has original jurisdiction
18 under 28 U.S.C. section 1332, and is one which may be removed to this Court by
19 Defendants pursuant to the provisions of 28 U.S.C. section 1441(b), because there is
20 complete diversity between the parties and the amount in controversy exceeds the
21 sum of seventy-five thousand dollars ($75,000.00), exclusive of interest and costs.
22         6.    Plaintiff BALBOA CAPITAL CORPORATION is, and was at the time
23 of the filing of the complaint, a California corporation with its principal place of
24 business located in the City of Costa Mesa, County of Orange, State of California,
25 and, therefore, is deemed a citizen of the State of California.
26
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28 ____________________________________________________________________
                       NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b)
                                   (DIVERSITY OF CITIZENSHIP)
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 1         7.    Defendant SHAYA MEDICAL P.C. INC. is, and was at the time of the
 2 filing of the complaint, a Florida corporation with its principal place of business in
 3 Jacksonville, Florida, and, therefore, is deemed a citizen of the State of Florida.
 4         8.    Defendant Dr. WISSAM SHAYA is an individual who is, and was at the
 5 time of the filing of the complaint, domiciled in the State of Florida and, therefore, is
 6 deemed a citizen of the State of Florida.
 7         9.    The presence of Doe defendants in this case has no bearing on diversity
 8 with respect to removal. See 28 U.S.C.A. § 1441(b)(1) (“In determining whether a
 9 civil action is removable on the basis of the jurisdiction under section 1332(a) of this
10 title, the citizenship of defendants sued under fictitious names shall be disregarded.”).
11         10.   Because Plaintiff is a citizen of the State of California and Defendants
12 are citizens of the State of Florida, there is complete diversity of citizenship under 28
13 U.S.C. § 1332(a)(1), and the requirement of diversity is satisfied.
14         11.   In its complaint, Plaintiff BALBOA CAPITAL CORPORATION claims
15 that Defendants have breached a contract and related guarantee and that they owe
16 Plaintiff $241,264.22. See Exhibit A, Complaint, Prayer for Relief. Therefore, based
17 upon the express allegations of Plaintiff’s complaint, the matter in controversy here
18 exceeds the jurisdictional sum of seventy-five thousand dollars ($75,000.00),
19 exclusive of interest and costs.
20         12.   Accordingly, the requirements for the Court to exercise diversity
21 jurisdiction under Section 1332 are satisfied, and removal to this Court is appropriate
22 under Section 1441(b).
23         13.   As required by 28 U.S.C. § 1446(d), promptly after filing this Notice of
24 Removal Defendants will serve written notice of the removal and the filing of this
25 Notice of Removal on counsel for Plaintiff BALBOA CAPITAL CORPORATION
26 and will file a copy with the Clerk of the Superior Court for the State of California in
27 and for the County of Orange.
28 ____________________________________________________________________
                       NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b)
                                   (DIVERSITY OF CITIZENSHIP)
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 1        14.   Defendants have not filed any responsive pleading to the Complaint as
 2 of the date of this notice. A responsive pleading by each Defendant was originally
 3 due to be filed in Superior Court no later than May 6, 2021. Pursuant to Rule
 4 81(c)(2) of the Federal Rules of Civil Procedure, Defendants’ answer or other
 5 responsive pleading is now due on May 12, 2021.
 6
 7 Dated: May 5, 2021                      Respectfully submitted,
 8
 9                                         FRANKLIN | SOTO LLP
10
11                                         /s Cheryl Dunn Soto
12
                                           Joshua D. Franklin
13                                         Cheryl Dunn Soto
14
                                           Attorneys for Defendants
15                                         Shaya Medical P.C. Inc. and Wissam Shaya
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28 ____________________________________________________________________
                     NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b)
                                 (DIVERSITY OF CITIZENSHIP)
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